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                          IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS.                                            §               Criminal No. 4:19-mj-396
                                               §
RAHUL RAMESH JOSHI                             §
                                           ORDER

       Because the above-named Defendant has testified under oath or has otherwise satisfied this

court that he (1) is financially unable to employ counsel, and (2) does not wish to waive counsel, and

because the interests of justice so require, the Federal Public Defender is appointed to represent this

person in the above-designated case.


       The appointment shall remain in effect until terminated or a substitute attorney is appointed.

       IT IS SO ORDERED.

       Signed the 1st day of August, 2019.


                                                       KIMBERLY C. PRIEST JOHNSON
                                                       UNITED STATES MAGISTRATE JUDGE
